Case 1:22-cv-20099-CMA Document 1 Entered on FLSD Docket 01/07/2022 Page 1 of 14




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                                CASE NO.:

  CARLOS BRITO,

              Plaintiff,
  v.

  ELMOR ASSOCIATES, LTD., BARNES &
  NOBLE, INC., and MICHAELS STORES,
  INC.,

          Defendant.
  ______________________________________/

                                               COMPLAINT

         Plaintiff, CARLOS BRITO, individually and on behalf of all other similarly situated

  mobility-impaired individuals (hereinafter “Plaintiff”), sues ELMOR ASSOCIATES, LTD.,

  BARNES & NOBLE, INC., and MICHAELS STORES, INC., (hereinafter “Defendants”), and as

  grounds alleges:

                                JURISDICTION, PARTIES. AND VENUE

         1.          This is an action for injunctive relief, a declaration of rights, attorneys' fees,

  litigation expenses, and costs pursuant to 42 U.S.C. § 12181, et seq., (the “Americans with

  Disabilities Act” or “ADA”) and 28 U.S.C. §§ 2201 and 2202.

         2.           The Court has original jurisdiction over Plaintiff’s claims arising under 42 U.S.C.

  § 12181, et seq. pursuant to 28 U.S.C. §§ 1331, 1343 and 42 U.S.C. § 12117(a).

         3.           The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 2201 and

  2202, and may render declaratory judgment on the existence or nonexistence of any right under 42

  U.S.C. § 12181, et seq.

         4.           Plaintiff, CARLOS BRITO, is an individual over eighteen years of age, who splits
Case 1:22-cv-20099-CMA Document 1 Entered on FLSD Docket 01/07/2022 Page 2 of 14




  his time between Miami-Dade County, Florida and Colorado and owns a residence in Miami-Dade

  County, Florida and is otherwise sui juris.

         5.          At all times material, Defendant, ELMOR ASSOCIATES, LTD., owned and

  operated a place of public accommodation at 12405 SW 88th Street Miami, Florida 33186

  (hereinafter the “Commercial Property”) and conducted a substantial amount of business in that

  place of public accommodation in Miami-Dade, Florida.

         6.          At all times material, Defendant, ELMOR ASSOCIATES, LTD., was and is a

  corporation, organized under the laws of the State of Florida with its principal place of business in

  Laurence, New York.

         7.          At all times material, Defendant, BARNES & NOBLE, INC., leased and operated

  a place of public accommodation at 12405 SW 88th Street Miami, Florida 33186 (hereinafter the

  “Commercial Property”) and conducted a substantial amount of business in that place of public

  accommodation in Miami-Dade, Florida.

         8.          At all times material, Defendant, BARNES & NOBLE, INC., was and is a

  Corporation organized under the laws of the State of Delaware with its principal place of business

  in New York, New York, which conducted a significant amount of business in Miami-Dade

  County, Florida.

         9.          At all times material, Defendant, MICHAELS STORES, INC., owned and

  operated a retail grocery store and a place of public accommodation at 12425 SW 88th Street

  Miami, Florida 33186, (hereinafter the “Commercial Property”) and conducted a substantial

  amount of business in that place of public accommodation in Miami-Dade, Florida. MICHAELS

  STORES, INC., holds itself out to the public as “Michaels.”

         10.         At all times material, Defendant, MICHAELS STORES, INC., was and is a



                                                   2
Case 1:22-cv-20099-CMA Document 1 Entered on FLSD Docket 01/07/2022 Page 3 of 14




  corporation organized under the laws of the state of Delaware, with its principal place of business

  in Irving, Texas.

         11.          Venue is properly located in the Southern District of Florida because Defendants’

  Commercial Property is located in Miami-Dade County, Florida, Defendants regularly conduct

  business within Miami-Dade County, Florida, and because a substantial part(s) of the events or

  omissions giving rise to these claims occurred in Miami-Dade County, Florida.

                                       FACTUAL ALLEGATIONS

         12.          Although over twenty-eight (28) years have passed since the effective date of Title

  III of the ADA, Defendants have yet to make its facilities accessible to individuals with disabilities.

         13.          Congress provided commercial businesses one and a half years to implement the

  Act. The effective date was January 26, 1992. In spite of this abundant lead-time and the extensive

  publicity the ADA has received since 1990, Defendants continue to discriminate against people

  who are disabled in ways that block them from access and use of Defendants’ business and

  properties.

         14.          The ADA prohibits discrimination on the basis of disability in 28 CFR 36.201 and

  requires landlords and tenants to be liable for compliance.

         15.          Plaintiff, CARLOS BRITO, is an individual with disabilities as defined by and

  pursuant to the ADA. Plaintiff, CARLOS BRITO, is, among other things, a paraplegic (paralyzed

  from his T-6 vertebrae down) and is therefore substantially limited in major life activities due to

  his impairment, including, but not limited to, not being able to walk or stand. Plaintiff requires the

  use of a wheelchair to ambulate.

         16.          Defendant, ELMOR ASSOCIATES, LTD., owns, operates and oversees the

  Commercial Property, its general parking lot and parking spots. Defendant, BARNES & NOBLE,



                                                      3
Case 1:22-cv-20099-CMA Document 1 Entered on FLSD Docket 01/07/2022 Page 4 of 14




  INC., leases, operates and oversees the Commercial Property, its general parking lot and parking

  spots. Defendant, MICHAELS STORES, INC., also leases, operates and oversees the Commercial

  Property, its general parking lot and parking.

         17.      The subject Commercial Property is open to the public and is located in Hialeah,

  Miami-Dade County, Florida.

         18.       The individual Plaintiff visits the Commercial Property and business located

  within the Commercial Property, regularly, and returned to the Property to document the ADA

  barriers at the Commercial Property and business located within the Commercial Property on or

  about September 1, 2021 and encountered multiple violations of the ADA that directly affected

  his ability to use and enjoy the Commercial Property and business located therein. He often visits

  the Commercial Property and business located within the Commercial Property in order to avail

  himself of the goods and services offered there, and because it is approximately one (1) mile from

  his residence and is near his friends’ residences as well as other business and restaurants he

  frequents as a patron and to Christmas shop at the nearby mall. He plans to return to the

  Commercial Property and the business located within the Commercial Property within two (2)

  months of the filing of this Complaint, specifically on March 10, 2022.

         19.      Plaintiff resides nearby in the same County and state as the Commercial Property

  and the business located within the Commercial Property, has regularly frequented the Defendants’

  Commercial Property and the business located within the Commercial Property for the intended

  purposes because of the proximity to his and his friends’ residences and other business that he

  frequents as a patron, and intends to return to the Commercial Property and business located within

  the Commercial Property within two (2) months from the filing of this Complaint. Specifically,

  Plaintiff intends to revisit the Property on March 10, 2022.



                                                   4
Case 1:22-cv-20099-CMA Document 1 Entered on FLSD Docket 01/07/2022 Page 5 of 14




         20.        The Plaintiff found the Commercial Property, and the business located within the

  Commercial Property to be rife with ADA violations. The Plaintiff encountered architectural

  barriers at the Commercial Property, and business located within the Commercial Property and

  wishes to continue his patronage and use of each of the premises.

         21.       The Plaintiff has encountered architectural barriers that are in violation of the

  ADA at the subject Commercial Property, and business located within the Commercial Property.

  The barriers to access at Defendants’ Commercial Property, and the business located within the

  Commercial Property have each denied or diminished Plaintiff’s ability to visit the Commercial

  Property, and business located within the Commercial Property, and have endangered his safety in

  violation of the ADA. The barriers to access, which are set forth below, have likewise posed a

  risk of injury(ies), embarrassment, and discomfort to Plaintiff, CARLOS BRITO, and others

  similarly situated.

         22.       Defendant, ELMOR ASSOCIATES, LTD., owns and operates a place of public

  accommodation as defined by the ADA and the regulations implementing the ADA, 28 CFR

  36.201 (a) and 36.104. Defendant, BARNES & NOBLE, INC., leases and operates a place of

  public accommodation as defined by the ADA and the regulations implementing the ADA, 28

  CFR 36.201 (a) and 36.104. Defendant, MICHAELS STORES, INC., of public accommodation

  within the Commercial Property. Defendants, ELMOR ASSOCIATES, LTD., BARNES &

  NOBLE, INC., and MICHAELS STORES, INC., are responsible for complying with the

  obligations of the ADA. The place of public accommodation that Defendants, ELMOR

  ASSOCIATES, LTD., BARNES & NOBLE, INC., and MICHAELS STORES, INC., own and/or

  operate is located at 12405 SW 88 Street Miami, Florida 33186.

         23.       Plaintiff, CARLOS BRITO, has a realistic, credible, existing and continuing



                                                  5
Case 1:22-cv-20099-CMA Document 1 Entered on FLSD Docket 01/07/2022 Page 6 of 14




  threat of discrimination from the Defendants’ non-compliance with the ADA with respect to the

  described Commercial Property and the business located within the Commercial Property,

  including but not necessarily limited to the allegations in Counts I through IV of this Complaint.

  Plaintiff has reasonable grounds to believe that he will continue to be subjected to discrimination

  at the Commercial Property, and business located within the Commercial Property, in violation of

  the ADA. Plaintiff desires to visit the Commercial Property and business located therein, not only

  to avail himself of the goods and services available at the Commercial Property, and business

  located within the Commercial Property, but to assure himself that the Commercial Property and

  business located within the Commercial Property are in compliance with the ADA, so that he and

  others similarly situated will have full and equal enjoyment of the Commercial Property, and

  business located within the Commercial Property without fear of discrimination.

         24.       Defendant, ELMOR ASSOCIATES, LTD., as landlord and owner of the

  Commercial Property Business, is responsible for all ADA violations listed in Counts I through III

  of this Complaint. Defendant, BARNES & NOBLE, INC., as lessee of the Commercial Property

  Business, is responsible for all ADA violations listed in Counts II. Defendant, MICHAELS

  STORES, INC., as lessee of the Commercial Property Business, is responsible for all ADA

  violations listed in Counts III.

         25.       Plaintiff, CARLOS BRITO, has a realistic, credible, existing and continuing

  threat of discrimination from the Defendants’ non-compliance with the ADA with respect to the

  described Commercial Property and business located within the Commercial Property, but not

  necessarily limited to the allegations in Counts I through III of this Complaint. Plaintiff has

  reasonable grounds to believe that he will continue to be subjected to discrimination at the

  Commercial Property, and business within the Commercial Property, in violation of the ADA.



                                                  6
Case 1:22-cv-20099-CMA Document 1 Entered on FLSD Docket 01/07/2022 Page 7 of 14




   Plaintiff desires to visit the Commercial Property and business within the Commercial Property,

   not only to avail himself of the goods and services available at the Commercial Property and

   business located within the Commercial Property, but to assure himself that the Commercial

   Property, and business located within the Commercial Property are in compliance with the ADA,

   so that he and others similarly situated will have full and equal enjoyment of the Commercial

   Property, and business located within the Commercial Property without fear of discrimination.

          26.       Defendants have discriminated against the individual Plaintiff by denying him

   access to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages

   and/or accommodations of the Commercial Property, and business located within the Commercial

   Property, as prohibited by 42 U.S.C. § 12182 et seq.

                                          COUNT I
                           AS TO DEFENDANT, ELMOR ASSOCIATES, LTD.

          27.       The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1

   through 26 above as though fully set forth herein.

          28.       Defendant, ELMOR ASSOCIATES, LTD., has discriminated, and continues to

   discriminate, against Plaintiff in violation of the ADA by failing, inter alia, to have accessible

   facilities by January 26, 1992 (or January 26, 1993, if a Defendants have 10 or fewer employees

   and gross receipts of $500,000 or less). A list of the violations that Plaintiff encountered during

   his visit to the Commercial Property, include but are not limited to, the following:

           A. Parking


 i.   The plaintiff had difficulty exiting the vehicle, as designated accessible parking spaces are

      located on an excessive slope. Violation: There are accessible parking spaces located on an

      excessive slope violating Section 4.6.3 of the ADAAG and Section 502.4 of the 2010 ADA

      Standards, whose resolution is readily achievable.

                                                    7
Case 1:22-cv-20099-CMA Document 1 Entered on FLSD Docket 01/07/2022 Page 8 of 14




  ii.     The plaintiff had difficulty exiting the vehicle, as designated accessible parking space access

          aisles are located on an excessive slope. Violation: There are accessible parking space access

          aisles located on an excessive slope violating Section 4.6.3 of the ADAAG and Section 502.4

          of the 2010 ADA Standards, whose resolution is readily achievable.

               B. Entrance Access and Path of Travel

  i.      The plaintiff had difficulty traversing the path of travel, as it was not continuous and accessible.

          Violation: There are inaccessible routes between sections of the facility. These are violations

          of the requirements in Sections 4.3.2(2), 4.3, and 4.5 of the ADAAG and Sections 206.2.2,

          303, 402 and 403, whose resolution is readily achievable.

  ii.     The plaintiff had difficulty traversing the path of travel, as there are cross slopes in excess of

          2%. Violation: The path of travel contains excessive cross slopes in violation of Section 4.3.7

          of the ADAAG and Section 403.3 of the 2010 ADA Standards, whose resolution is readily

          achievable.

iii.      The plaintiff had difficulty entering tenant spaces without assistance, as the entrance thresholds

          are too high. Violation: There are threshold rises more than ½ inch at the tenant entrances,

          violating Section 4.13.8 of the ADAAG and Section 404.2.5 of the 2010 ADA Standards,

          whose resolution is readily achievable.

                                               COUNT II
                              AS TO DEFENDANTS, ELMOR ASSOCIATES, LTD.
                                       and BARNES & NOBLE, INC.

              29.       The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1

       through 26 above as though fully set forth herein.

              30.       Defendants, ELMOR ASSOCIATES, LTD. AND BARNES & NOBLE, INC.,

       have discriminated, and continue to discriminate, against Plaintiff in violation of the ADA by

                                                         8
Case 1:22-cv-20099-CMA Document 1 Entered on FLSD Docket 01/07/2022 Page 9 of 14




      failing, inter alia, to have accessible facilities by January 26, 1992 (or January 26, 1993, if a

      Defendants have 10 or fewer employees and gross receipts of $500,000 or less). A list of the

      violations that Plaintiff encountered during his visit to the Commercial Property, include but are

      not limited to, the following:

              A. Public Restrooms

  i.     The plaintiff was exposed to a cutting/burning hazard because the lavatory outside the

         accessible toilet compartment has pipes that are not wrapped. Violation: The lavatory pipes are

         not fully wrapped or insulated outside the accessible toilet compartment violating Section

         4.19.4 of the ADAAG and Sections 213.3.4 & 606.5 of the 2010 ADA Standards, whose

         resolution is readily achievable.

ii.      The plaintiff could not use the accessible toilet compartment door without assistance, as it is

         not self-closing and does not have compliant door hardware. Violation: The accessible toilet

         compartment door does not provide hardware and features that comply with Sections 4.17.5

         and 4.13.9 of the ADAAG and Sections 309.4 and 604.8.1.2 of the 2010 ADA Standards,

         whose resolution is readily achievable.

iii.     The plaintiff could not enter the accessible toilet compartment without assistance, as the

         required maneuvering clearance is not provided. Violation: The accessible toilet compartment

         does not provide the required latch side clearance at the door violating Sections 4.13.6 and

         4.17.5 of the ADAAG and Sections 404.2.4 and 604.8.1.2 of the 2010 ADA Standards, whose

         resolution is readily achievable.

iv.      The plaintiff could not transfer to the toilet without assistance, as objects are mounted less than

         12” above a grab bar obstructing its use. Violation: The grab bars in the accessible toilet

         compartment do not comply with the requirements prescribed in Sections 4.17.6 and 4.26 of



                                                       9
Case 1:22-cv-20099-CMA Document 1 Entered on FLSD Docket 01/07/2022 Page 10 of 14




         the ADAAG and Section 609.3 of the 2010 ADA Standards, whose resolution is readily

         achievable.



 v.      The plaintiff had difficulty using the toilet without assistance, as it is not mounted at the

         required distance from the side wall. Violation: The water closet in the accessible toilet

         compartment is mounted at a non-compliant distance from the wall in violation of Section

         4.17.3 and Figure 30(a) of the ADAAG and Section 604.2 of the 2010 ADA Standards, whose

         resolution is readily achievable.

vi.      The plaintiff could not transfer to the toilet without assistance in the accessible toilet

         compartment, as objects are mounted less than 1 1/2” below a grab bar, obstructing its use.

         Violation: The grab bars do not comply with the requirements prescribed in Sections 4.17.6

         and 4.26 of the ADAAG and Section 609.3 of the 2010 ADA Standards, whose resolution is

         readily achievable.

                                               COUNT III
                               AS TO DEFENDANTS, ELMOR ASSOCIATES, LTD.
                                       and MICHAELS STORES, INC.

            37.      The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1

      through 26 above as though fully set forth herein.

            38.      Defendants, ELMOR ASSOCIATES, LTD. and MICHAELS STORES, INC..,

      have discriminated, and continue to discriminate, against Plaintiff in violation of the ADA by

      failing, inter alia, to have accessible facilities by January 26, 1992 (or January 26, 1993, if a

      Defendants have 10 or fewer employees and gross receipts of $500,000 or less). A list of the

      violations that Plaintiff encountered during his visit to the Commercial Property, include but are

      not limited to, the following:

              A. Entrance Access and Path of Travel

                                                        10
Case 1:22-cv-20099-CMA Document 1 Entered on FLSD Docket 01/07/2022 Page 11 of 14




  i.   The plaintiff could not traverse through areas of the store, as the required 36” path is not

       provided. Violation: A continuous path of travel connecting all essential elements of the store

       is not provided, violating Sections 4.2.1, 4.3.2(3), & 4.3.3 of the ADAAG and Sections

       206.2.2 & 403.5.1 of the 2010 ADA Standards, whose resolution is readily achievable.

            B. Public Restrooms


  i.   The plaintiff could not enter the accessible toilet compartment without assistance, as the

       required maneuvering clearance is not provided. Violation: The accessible toilet compartment

       does not provide the required latch side clearance at the door violating Sections 4.13.6 and

       4.17.5 of the ADAAG and Sections 404.2.4 and 604.8.1.2 of the 2010 ADA Standards, whose

       resolution is readily achievable.

 ii.   The plaintiff had difficulty using the toilet without assistance, as it is not mounted at the

       required distance from the side wall. Violation: The water closet in the accessible toilet

       compartment is mounted at a non-compliant distance from the wall in violation of Section

       4.17.3 and Figure 30(a) of the ADAAG and Section 604.2 of the 2010 ADA Standards, whose

       resolution is readily achievable.


                                   RELIEF SOUGHT AND THE BASIS

         41.       The discriminatory violations described in Count I are not an exclusive list of the

    Defendants’ ADA violations. Plaintiff requests an inspection of the Defendants’ places of public

    accommodation in order to photograph and measure all of the discriminatory acts violating the

    ADA and barriers to access in conjunction with Rule 34 and timely notice. Plaintiff further requests

    to inspect any and all barriers to access that were concealed by virtue of the barriers' presence,

    which prevented Plaintiff, CARLOS BRITO, from further ingress, use, and equal enjoyment of

    the Commercial Business and business located within the Commercial Property; Plaintiff requests

                                                    11
Case 1:22-cv-20099-CMA Document 1 Entered on FLSD Docket 01/07/2022 Page 12 of 14




  to be physically present at such inspection in conjunction with Rule 34 and timely notice. A

  complete list of the Subject Premises’ ADA violations, and the remedial measures necessary to

  remove same, will require an on-site inspection by Plaintiff’s representatives pursuant to Federal

  Rule of Civil Procedure 34.

       42.        The individual Plaintiff, and all other individuals similarly situated, have been

  denied access to, and have been denied full and equal enjoyment of the goods, services, facilities

  privileges, benefits, programs and activities offered by Defendants, Defendants’ buildings,

  business and facilities; and has otherwise been discriminated against and damaged by the

  Defendants because of the Defendants’ ADA violations as set forth above. The individual

  Plaintiff, and all others similarly situated, will continue to suffer such discrimination, injury and

  damage without the immediate relief provided by the ADA as requested herein. In order to remedy

  this discriminatory situation, The Plaintiff requires an inspection of the Defendants’ place of public

  accommodation in order to determine all of the areas of non-compliance with the Americans with

  Disabilities Act.

       43.       Defendants have discriminated against the individual Plaintiff by denying him

  access to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

  accommodations of its place of public accommodation or commercial facility, in violation of 42

  U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, the Defendants continue to

  discriminate against Plaintiff, and all those similarly situated, by failing to make reasonable

  modifications in policies, practices or procedures, when such modifications are necessary to afford

  all offered goods, services, facilities, privileges, advantages or accommodations to individuals with

  disabilities; and by failing to take such efforts that may be necessary to ensure that no individual

  with a disability is excluded, denied services, segregated or otherwise treated differently than other



                                                   12
Case 1:22-cv-20099-CMA Document 1 Entered on FLSD Docket 01/07/2022 Page 13 of 14




  individuals because of the absence of auxiliary aids and services.

       44.        Plaintiff is without adequate remedy at law, will suffer irreparable harm, and has a

  clear legal right to the relief sought. Further, injunctive relief will serve the public interest and all

  those similarly situated to Plaintiff. Plaintiff has retained the undersigned counsel and is entitled

  to recover attorneys’ fees, costs and litigation expenses from Defendants pursuant to 42 U.S.C. §

  12205 and 28 CFR 36.505.

      45.         A Defendant is required to remove the existing architectural barriers to the

  physically disabled when such removal is readily achievable for their place of public

  accommodation, The Plaintiff and all others similarly situated, will continue to suffer such

  discrimination, injury and damage without the immediate relief provided by the ADA as requested

  herein. In order to remedy this discriminatory situation, The Plaintiff requires an inspection of the

  Defendants’ place of public accommodation in order to determine all of the areas of non-

  compliance with the Americans with Disabilities Act.

      46.         Notice to Defendants is not required as a result of the Defendants’ failure to cure

  the violations by January 26, 1992 (or January 26, 1993, if a Defendants have 10 or fewer

  employees and gross receipts of $500,000 or less). All other conditions precedent have been met

  by Plaintiff or waived by the Defendant.

      47.         Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

  Plaintiff Injunctive Relief, including an order to alter the property where Defendants operate the

  business, located at and/or within the commercial property located at 12405 SW 88 Street Miami,

  Florida 33186, the exterior areas, and the common exterior areas of the Commercial Property and

  business located within the Commercial Property, to make those facilities readily accessible and

  useable to The Plaintiff and all other mobility-impaired persons; or by closing the facility until



                                                     13
Case 1:22-cv-20099-CMA Document 1 Entered on FLSD Docket 01/07/2022 Page 14 of 14




  such time as the Defendants cure the violations of the ADA.

         WHEREFORE, The Plaintiff, CARLOS BRITO, respectfully requests that this Honorable

  Court issue (i) a Declaratory Judgment determining Defendants at the commencement of the

  subject lawsuit were and are in violation of Title III of the Americans with Disabilities Act, 42

  U.S.C. § 12181 et seq.; (ii) Injunctive relief against Defendants including an order to make all

  readily achievable alterations to the facilities; or to make such facilities readily accessible to and

  usable by individuals with disabilities to the extent required by the ADA; and to require Defendants

  to make reasonable modifications in policies, practices or procedures, when such modifications

  are necessary to afford all offered goods, services, facilities, privileges, advantages or

  accommodations to individuals with disabilities; and by failing to take such steps that may be

  necessary to ensure that no individual with a disability is excluded, denied services, segregated or

  otherwise treated differently than other individuals because of the absence of auxiliary aids and

  services; (iii) An award of attorneys’ fees, costs and litigation expenses pursuant to 42 U.S.C. §

  12205; and (iv) such other relief as the Court deems just and proper, and/or is allowable under

  Title III of the Americans with Disabilities Act.

  Dated: January 7, 2022.                        GARCIA-MENOCAL & PEREZ, P.L.
                                                 Attorneys for Plaintiff
                                                 4937 S.W. 74th Court
                                                 Miami, Florida 33155
                                                 Telephone: (305) 553-3464
                                                 Facsimile: (305) 553-3031
                                                 Primary E-Mail: ajperez@lawgmp.com
                                                 Secondary E-Mails: bvirues@lawgmp.com;
                                                 dperaza@lawgmp.com

                                                 By: ___/s/_Anthony J. Perez________
                                                        ANTHONY J. PEREZ
                                                        FL BAR NO.: 535451
                                                        BEVERLY VIRUES
                                                        FL BAR NO.: 123713



                                                   14
